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                           UNITED STATES DISTRICT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                )
                                        )
v.                                      )     Case No. 21-CR-0060-CKK
                                        )
JESUS RIVERA,                           )
                                        )
      Defendant.                        )


            MOTION FOR STAY OF SENTENCE PENDING APPEAL

      Comes now, Defendant Jesus Rivera, by his undersigned counsel, who

respectfully requests for a stay of his sentence pending appeal to the United States

Court of Appeals for the District of Columbia Circuit from the Judgment and Sentence

issued by the United States District Court for the District of Columbia.


      Defendant Rivera cites the following grounds:


      1. Rivera was convicted at a bench trial of nonviolent misdemeanors which

         involved no force or destruction of anyone’s personal or public property.


      2. Rivera was sentenced by this honorable court to eight (8) months

         incarceration, with directions to self-surrender to the federal prison at FCI

         Jesup, in Georgia on January 9, 2023.


      3. Mr. Rivera has retained new counsel to pursue his appeal in the Court of

         Appeals. This appeal will likely encompass the length of sentence as well

         as other issues in the case.


      4. Upon information and belief, the eight-month prison sentence in this case

         is the longest misdemeanor sentence among all Jan. 6 cases thus far (out of

         as many as 200 misdemeanor sentences). Rivera’s sentence is longer than
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   even every misdemeanor sentence which was pled down from felony

   charges, and longer than every misdemeanor sentence involving defendants

   with lengthy criminal histories. (While Rivera had no prior criminal history

   whatsoever.)


5. Unfortunately, however, the average federal appeal takes 8.6 months to

   10.8 months, according to the U.S. Courts’ “Just the Facts” website

   (referencing      data       from        2011       to      2015).      See

   https://www.uscourts.gov/news/2016/12/20/just-facts-us-courts-appeals

   (accessed 12/1/2022). This average length of time for federal appeals, of

   course, encompasses many appeals which are quickly dismissed or

   withdrawn on jurisdictional grounds. Appeals which are fully briefed and

   argued, as this case will be, can average over a year.


6. Thus, Defendant Rivera will have completed his 8-month term of

   incarceration by the time his appeal is decided in the D.C. Circuit.


7. Mr. Rivera is a husband and father to four young children, all age ten or

   under. He is the primary breadwinner for his family. His children depend

   on him for daily support and transportation. Mr. and Mrs. Rivera have

   twins who are both six years old.


8. Mr. Rivera works at the Jubilee Church and Christian Academy in

   Pensacola, Florida.   JCA includes preschool, kindergarten through 5th

   grade and 6th grade through 8th grade programs.


9. Mr. Rivera is in charge of production, media and information technology at

   JCA. He has no replacement at the Academy and no other staff can perform
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          his duties.


       10. Mr. Rivera’s wife Jessecah will be placed in extreme hardship if Mr. Rivera

          is incarcerated pending his appeal. His family will be forced to rely on one

          income rather than two. Jessecah will have extreme difficulty with daily

          transportation and childcare in his absence.


       11. FCI Jesup, where Rivera is currently directed to report on January 9, 2023,

          is a “medium security federal correctional institution with an adjacent low

          security satellite prison and a minimum security satellite camp.” Upon

          information and belief, Rivera is almost certainly likely to be designated as

          an extremely low-level-security inmate, being a misdemeanant, a husband

          and father with no criminal history or history of violence of any kind.

          Meanwhile there is a low-security federal prison just twenty miles from

          Rivera’s home, FPC Pensacola, located at Saufley Field, Florida. The FPC

          Pensacola facility would be far more appropriate for Rivera’s placement.


WHEREFORE, Defendant prays for an order staying his eight-month misdemeanor

prison sentence until the outcome of his appeal in this matter.



Date: December 2, 2022                        Respectfully Submitted,

                                               /s/ John M. Pierce
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                                   CERTIFICATE OF SERVICE

          I, John M. Pierce, hereby certify that on this day, November 29, 2022, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                                /s/ John M. Pierce
                                                   John M. Pierce
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